  Case 5:22-cv-00114-C Document 71 Filed 02/13/24                Page 1 of 5 PageID 1508



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

SECURITIES AND EXCHANGE COMMISSION,                         )
                                                            )
       Plaintiff,                                           ) Civil Action No. 5-22-CV-114-C
                                                            )
                                                            )
                                                            )
BORON CAPITAL, LLC,                                         ) JURY TRIAL DEMANDED
BC HOLDINGS 2017, LLC,                                      )
UNITED BNB FUND 2018, LLC, and                              )
BLAKE ROBERT TEMPLETON,                                     )
                                                            )
       Delendants.                                          )
                                                            )

          FINAL JUDGMENT AS TO DEFENDANTS BORON CAPITAL, LLC,
             BC HOLDINGS 2017. LLC and UNITED BNB FUND 2018. LLC

       The Securities and Exchange Commission having filed a Complaint and Defendants

Boron Capital, LLC, BC Holdings 2017 ,LLC, and United BNB Fund 2018, LLC ("Defendants")

having entered a general appearance; consented to the Court's jurisdiction over Defendants and

the subject ma$er of this action; consented to entry ofthis Final Judgment without admitting or

denying the allegations of the Complaint (except as to jurisdiction and except as otherwise

provided herein); waived findings of fact and conclusions of law; and waived any right to appeal

from this Final Judgment:

                                                I.

       IT Is ORDERED, ADJUDGED, AND DEcREED that Defendants are permanently restrained

and enjoined from violating, directly or indirectly, Section l0(b) ofthe Securities Exchange Act

of 1934 (the "Exchange Act") [5 U.S.C. $ 78j(b)] and Rule l0b-5 promulgated thereunder


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  Case 5:22-cv-00114-C Document 71 Filed 02/13/24                  Page 2 of 5 PageID 1509



[17 C.F.R. $ 240.10b-5], by using any means or instrumentality of interstate commerce, or of the

mails, or ofany facility ofany national securities exchange, in connection with the purchase or

sale of any security:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to make any untrue statement of a material fact or to omit to state a material fact

                necessary in order to make the statements made, in the light of the circumstances

                under which they were made, not misleading; or

        (c)     to engage in any act, practice, or course ofbusiness which operates or would

                operate as a fraud or deceit upon any person.

        IT Is FURTTGR ORDERED, ADruDGED, AND DEcREED that, as provided in Federal Rule of

Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who receive actual

notice of this Final Judgment by personal service or otherwise: (a) Defendants' officers, agents,

servants, employees, and attomeys; and (b) other persons in active concert or participation with

Defendants or with anyone described in (a).

                                                 T.

        IT Is FuRTrsR ORDERED, ADruDGED, AND DEcREeo that Defendants are permanently

restrained and enjoined from violating Section l7(a) of the Securities Act of 1933 (the

"Securities Act") [5 U.S.C. $ 77q(a)] in the offer or sale ofany security by the use ofany

means or instruments of transportation or communication in interstate commerce or by use of the

mails, directly or indirectly:

        (a)     to employ any device, scheme, or artifice to defraud;




                                                  2
  Case 5:22-cv-00114-C Document 71 Filed 02/13/24                     Page 3 of 5 PageID 1510



       (b)     to obtain money or property by means of any untrue statement of a material fact

               or any omission of a material fact necessary in order to make the statements made,

               in light of the circumstances under which they were made, not misleading; or

       (c)     to engage in any transaction, practice, or course ofbusiness which operates or

               would operate as a fraud or deceit upon the purchaser.

       IT Is FIR.THER ORDERED, ADJUDCED, AND DECREED that, as provided in Federal Rule of

Civil Procedure 65(dX2), the foregoing paragraph also binds the following who receive actual

notice of this Final Judgment by personal service or otherwise: (a) Defendants' officers, agents,

servants, employees, and attorneys; and (b) other persons in active concert or participation with

Defendants or with anyone described in (a).

                                                 u.
       IT Is FURTmR ORDERED, ADJUDGED, AND DECREED that Defendants are permanently

restrained and enjoined from violating Section 5 of the Securities Act [5 U.S.C. $ 77e] by,

directly or indirectly, in the absence of any applicable exemption:

       (a)     Unless a registration statement is in effect as to a security, making use ofany

               means or instruments of transportation or communication in interstate commerce

               or ofthe mails to sell such security through the use or medium ofany prospectus

               or otherwise;

       (b)     Unless a registration statement is in effect as to a security, carrying or causing to

               be carried through the mails or in interstate commerce, by any means or

               instruments of transportation, any such security for the purpose of sale or for

               delivery after sale; or
  Case 5:22-cv-00114-C Document 71 Filed 02/13/24                   Page 4 of 5 PageID 1511



        (c)    Making use of any means or instruments of transportation or communication in

               interstate commerce or ofthe mails to offer to sell or offer to buy through the use

               or medium ofany prospectus or otherwise any security, unless a registration

               statement has been filed with the Commission as to such security, or while the

               registration statement is the subject of a refusal order or stop order or (prior to the

               effective date of the registration statement) any public proceeding or examination

               under Section 8 of the Securities Act [5 U.S.C. $ 77h].

       IT Is FURTITER ORDERED, ADJUDcED, AND DEcREED that, as provided in Federal Rule of

Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who receive actual

notice ofthis Final Judgment by personal service or otherwise: (a) Defendants' officers, agents,

servants, employees, and attomeys; and (b) other persons in active concert or participation with

Defendants or with anyone described in (a).

                                                 IV.

       IT Is FURTHER ORDERED, ADruD6ED, AND DEcREro that Defendants are ordered to pay

disgorgement, jointly and severally, in the amount of $18,744,313, plus prejudgment interest in

the amount of $1,165,198,97. Payment of $19,909,511.97 is deemed to have been fully satisfied

upon the execution of the Receiver's distribution plan.

                                                 V.

       IT Is FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is incorporated

herein with the same force and effect as if fully set forth herein, and that Defendants shall comply

with all of the undertakings and agreements set forth therein.




                                                  4
  Case 5:22-cv-00114-C Document 71 Filed 02/13/24                  Page 5 of 5 PageID 1512



                                                VI.

       IT Is FURTHER ORDERED, ADruDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes ofenforcing the terms of this Final Judgment.

                                                VII.

       There being nojust reason for delay, pursuant to Rule 54(b) ofthe Federal Rules of Civil

Procedure. the Clerk is o;dered to enler this F inal Judgment forthwith and without further notice.
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        Signed this   /1" day ofFebruary.2024
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                                                       OR         DS           STzuCT JUDGE



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